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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                          OCALA DIVISION

  UNITED STATES OF AMERICA

  v.
                                                Case No. 5:20-cr-40-Oc-28PRL

  CHRISTINA LYNN CATALANO
  ____________________________________/

                DEFENDANT’S MOTION TO CANCEL
              STATUS HEARING, OR ALTERNATIVELY,
         TO ALLOW COUNSEL TO APPEAR TELEPHONICALLY

        Christina Lynn Catalano, through counsel, moves that her November 20,

  2020 status hearing be cancelled, or alternatively, that her counsel be allowed to

  appear telephonically, based on the following considerations:

        1.     The status of this case is as follows: The matter is scheduled for a

  change of plea hearing before Judge Lammens on November 30, 2020 at 10:30

  a.m. While no problems or issues are anticipated, should the plea fail to go

  through for any reason counsel will immediately file a motion to continue trial.

        2.     With the status having been provided to the Court, it is suggested

  that it is unnecessary to hold a status hearing on November 20, 2020. It is

  therefore requested that the status hearing be cancelled.

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        3.     In the event the Court wants to go forward with the status hearing,

  it is requested that Ms. Catalano’s counsel, who is headquartered in Jacksonville,

  be allowed to appear telephonically.

        4.     A good faith effort was made to provide the government’s position

  on this motion but the Assistant U.S. Attorney prosecuting Ms. Catalano’s case,

  Michael Felicetta, is in trial and therefore unavailable. A colleague of Mr.

  Felicetta’s was consulted to see if he could supply the government’s position,

  but felt it was not his place to do so. Because the status hearing is scheduled

  three days from now, and because the relief being requested is not particularly

  dramatic or consequential, this motion is being filed without the United States’

  position. If the government’s position becomes known before the Court rules on

  this motion it will be immediately supplied.

                                         Respectfully submitted,

                                         James T. Skuthan
                                         Acting Federal Defender


                                         s/ Mark Rosenblum
                                         Mark Rosenblum
                                         Florida Bar No. 0289175
                                         Assistant Federal Defender
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                                           Attorney for defendant




                         CERTIFICATE OF SERVICE

        I certify that on November 17, 2020, I electronically filed the foregoing

  with the Clerk of Court by using the CM/ECF system, which will send notice

  of electronic filing to all counsel of record.


                                              s/ Mark Rosenblum
                                              Assistant Federal Defender




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